
953 N.E.2d 926 (2011)
352 Ill. Dec. 245
PEOPLE State of Illinois, respondent,
v.
Frank HUBBARD, petitioner.
No. 111240.
Supreme Court of Illinois.
September 28, 2011.
Petition for leave to appeal denied.
In the exercise of this Court's supervisory authority, the Appellate Court, First District, is ordered to vacate its decision in People v. Hubbard, 404 Ill.App.3d 100, 343 Ill.Dec. 679, 935 N.E.2d 687 (2010) and reconsider in light of People v. Marshall, 242 Ill.2d 285, 351 Ill.Dec. 172, 950 N.E.2d 668 (2011), to determine if a different result is warranted.
